                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    BILL LIETZKE,
                                Plaintiff,
                   v.
    COUNTY OF MONTGOMERY, et al,                   Case No. 3:19-cv-00141-TMB
    REESE McKINNEY, D.T. MARSHALL

                                Defendants.


                                 ORDER OF DISMISSAL

         On May 17, 2019, self-represented litigant Bill Lietzke filed a complaint titled

“Constitutional Rights Violations First Degree Kidnapping Malicious Prosecution

False Imprisonment Harassment” with an exhibit labeled “Plaintiff’s First Set of

Interrogatories,” along with a civil cover sheet and a Motion to Proceed In Forma

Pauperis. 1     The complaint names the “County of Montgomery, et al, Reese

McKinney, D.T. Marshall” as defendants. 2 Additionally, the cover sheet indicates

that the complaint presents a federal question under 42 U.S.C. § 1983 and

describes       the     cause    as    “FIRST    DEGREE       KIDNAPPING,        FALSE

IMPRISONMENT, HARASSMENT.”




1   Dockets 1-3.
2   Docket 2.




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        The complaint alleges that in five separate incidents the County of

Montgomery improperly seized Mr. Leitzke. 3 The complaint alleges that on August

2, 1999, the County of Montgomery seized Mr. Lietzke without probable cause and

took him to Jackson Hospital, Montgomery County Probate, and Greil Memorial

Psychiatric Hospital. He further alleges that in the course of this conduct he was

subjected to unlawful physical contact. The complaint also alleges that on August

9, 1999, the County seized Mr. Lietzke without probable cause and took him to

Jackson Hospital and on August 11, 1999 the County of Montgomery seized and

incarcerated him at Greil Memorial Psychiatric Hospital. The complaint alleges

that on December 19, 2002, all of the named defendants trespassed, seized,

kidnapped, and committed Mr. Leitzke to Greil Memorial Psychiatric Hospital.

Lastly, the complaint alleges that on December 23, 1999, the County seized him

without probable cause and once again unlawfully took him to Greil Memorial

Hospital and Montgomery County Probate.              Mr. Lietzke contends that these

incidents violated his rights under the Fourth Amendment of the U.S. Constitution

and that he suffered “mental anguish” and “intentional infliction of emotional

distress.”




3   See Docket 1.


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         For relief, Mr. Lietzke requests “Punitive, Actual, and Compensatory

damages of $3,000,000,000.00.” 4

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status. 5 In this screening,

a court shall dismiss the case at any time if the court determines that the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 6

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 7 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and




4   Docket 1 at 2.
5  See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).
6   28 U.S.C. § 1915(e)(2)(B).
7 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).


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give the plaintiff the benefit of the doubt. 8 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 9

                                       DISCUSSION

         Mr. Lietzke’s complaint alleges that he was seized without probable cause,

subjected to unwanted physical contact, and improperly incarcerated.                   The

complaint fails to establish personal jurisdiction over the defendants and is filed in

the incorrect venue. Additionally, Mr. Lietzke has filed these allegations in several

district courts, therefore making the complaint frivolous. In this case, amendment

would be futile; therefore, leave to amend will not be permitted.

                                   Personal Jurisdiction

          The Court must have personal jurisdiction over the parties.         Personal

jurisdiction is “[a] court’s power to bring a person into its adjudicative process.” 10

Under the Rules of Civil Procedure, personal jurisdiction may be established over



8See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
9See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).
10   Black’s Law Dictionary (10th ed. 2014).


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a defendant who is “subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located.” 11 If the defendant is located out-of-

state, the United States Constitution requires that a defendant must have a

minimum level of contacts with the state in which the federal court is located in

order for that court to be authorized to hear the case. 12 A plaintiff must show that

an out-of-state defendant had sufficient minimum contacts with and in Alaska

necessary as not to offend the “traditional notices of fair play and substantial

justice.” 13

         The complaint articulates that the events at issue occurred in Montgomery.

The Court presumes this is Montgomery, Alabama, as there is no Montgomery,

Alaska.        Additionally, the address provided for the First Baptist Church

Montgomery is located in Alabama. Moreover, Mr. Lietzke attempts to use Neveda

state law to justify this Court’s exercise of personal jurisdiction. Nevada state law

does not apply here. The complaint does not establish any events or contacts that



11   Fed. R. Civ. P. Rule 4(k)(1)(A).
12   Int’l Shoe Co. v. State of Wash., 326 U.S. 310 (1945).
13
  Int’l Shoe, 326 U.S. at 316 (citation and internal quotation marks omitted). Alaska’s
long-arm statute, AS 09.05.015(c), “authorizes Alaska’s courts ‘to assert jurisdiction to
the maximum extent permitted by due process.’” Polar Supply Co., Inc. v. Steelmaster
Industries, Inc., 127 P.3d 54, 56 (Alaska 2005) (citations omitted). “As the United
States Supreme Court explained in International Shoe Co. v. Washington, due process
requires that a defendant have ‘minimum contacts’ with the forum state such that
maintaining a suit in the forum state ‘does not offend ‘traditional notions of fair play and
substantial justice.’” In re Fields, 219 P.3d 995, 1008 (Alaska 2009) (quoting
International Shoe, 326 U.S. at 316).

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would give defendants reasonable notice of this Court’s jurisdiction. Due to this

lack of contacts, it would offend the traditional notices of fair play and justice for

this Court to assert jurisdiction. Therefore, this Court has no personal jurisdiction

over the defendants, and the complaint must be dismissed.

                                          Venue

         A civil action must also be brought in the proper venue in order for a district

court to have proper jurisdiction. 14 In general, a civil lawsuit is properly filed in “(1)

a judicial district in which any defendant resides, if all the defendants are residents

of the State in which the district is located,” (2) where “a substantial part of the

events or omissions giving rise to the claim occurred,” or (3) if there is no other

district where the suit can be brought then in a judicial district where “any defendant

is subject to the court’s personal jurisdiction.” 15

         Accordingly, none of the defendants reside in the District of Alaska, nor do

the alleged events take place in the District of Alaska. Lastly as discussed above,

this Court does not have personal jurisdiction over any of the defendants. Thusly,

this action is not filed in the proper venue and must be dismissed.




14   28 U.S.C. § 1391.
15   28 U.S.C. § 1391(b).

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                                    Frivolous Lawsuits

         In accordance with federal law, a court must dismiss a case “at any time if

the court determines that the action or appeal is frivolous or malicious.” 16 The term

frivolous, or frivolous as a matter of law, is a legal term. It means that a case or

complaint “lacks an arguable basis in either in law or in fact.” 17 When a court

evaluates for whether a complaint is frivolous, it must “pierce the veil of the

complaint’s factual allegations to determine whether they are fanciful, fantastic, or

delusional.” 18    Additionally, a complaint may be frivolous if it merely repeats

pending or previously litigated claims.” 19

         Mr. Lietzke has frequently attempted to litigate his allegations against the

County of Montgomery, Reese McKinney, and D.T. Marshall. A search of federal

dockets reveals Mr. Lietzke has filed numerous complaints in numerous districts

in Alabama, Arizona, California, Idaho, Iowa, Maine, Massachusetts, Michigan,

Minnesota, Montana, Nebraska, Nevada, New York, North Dakota, South Dakota,

Texas, Utah, Washington, and Wyoming. 20              As such, Mr. Leitzke’s action is


16   28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(b)(1); 42 U.S.C. § 1997e(c)(1).
17   Neitzke v. Williams, 490 U.S. 319, 325 (1989).
18   Neitzke, 490 U.S. at 327-28; see also Denton v. Hernandez, 504 U.S. 25, 33 (1992).
19   Cato v. United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995).
20See Lietzke v. County of Montgomery, et al., 2:17-cv-00714, 2:17-cv-00674 (M.D. Ala.
2017); Lietzke v. County of Montgomery, et al., 2:07-cv-00943, 2:07-cv-00814 (M.D. Ala.
2007); Lietzke v. County of Montgomery, et al., 2:14-cv-00788 (D. Ariz. 2014); Lietzke v.
County of Montgomery, et al., 2:17-cv-09233 (C.D. Cal. 2017); Lietzke v. County of

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frivolous because it merely repeats previously litigated claims. Therefore, the

complaint must be dismissed with prejudice for frivolousness.

                                 Futility of Amendment

       Mr. Lietzke’s complaint lacks personal jurisdiction and venue. Under the

facts alleged, Mr. Lietzke is unable to establish personal jurisdiction over the

defendants.     Additionally, Mr. Lietzke has previously litigated these claims in

several jurisdictions making them frivolous. Therefore, amendment is futile.




IT IS THEREFORE ORDERED:

1. The Complaint is DISMISSED WITH PREJUDICE for lack of personal

   jurisdiction, frivolousness, and the futility of amendment.

2. The Application to Proceed in District Court without Prepaying Fees of Costs at

   Docket 3 is DENIED AS MOOT.


Montgomery, et al., 4:17-cv-07242 (N.D. Cal. 2017); Lietzke v. County of Montgomery, et
al., 1:12-cv-00145 (D. Idaho 2012); Lietzke v. County of Montgomery, et al., 4:17-cv-
00014 (S.D. Iowa 2017); Lietzke v. County of Montgomery, et al., 2:17-cv-00329 (D. Me.
2017); Lietzke v. County of Montgomery, et al., 1:717-cv-11649 (D. Mass. 2017); Lietzke
v. County of Montgomery, et al., 2:17-cv-12922 (E.D. Mich. 2017); Lietzke v. County of
Montgomery, et al., 0:07-cv-03007 (D. Minn. 2007); Lietzke v. County of Montgomery, et
al., 6:15-cv-00007 (D. ont. 2015); Lietzke v. County of Montgomery, et al., 4:16-cv-03021
(D. Neb. 2016); Lietzke v. County of Montgomery, et al., 3:17-cv-00075 (D. Nev. 2017);
Lietzke v. County of Montgomery, et al., 3:14-cv-00197, 3:14-cv-00176 (D. Nev. 2014);
Lietzke v. County of Montgomery, et al., 1:07-cv-08511 (S.D.N.Y. 2007); Lietzke v.
County of Montgomery, et al., 1:16-cv-00312 (D.N.D. 2016); Lietzke v. County of
Montgomery, et al., 5:17-cv-05005 (D.S.D. 2017); Lietzke v. County of Montgomery, et
al., 3:13-cv-04468 (N.D. Tex.); Lietzke v. County of Montgomery, et al., 2:12-cv-00268
(D. Utah 2012); Lietzke v. County of Montgomery, et al., 2:07-cv-01061 (W.D. Wash.
2007); Lietzke v. County of Montgomery, et al., 2:15-cv-00032 (D. Wyo. 2015).

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3. The Clerk of Court is directed to enter a Final Judgment in this case.


DATED at Anchorage, Alaska this 11th day of June, 2019.

                                                        /s/ Timothy M. Burgess
                                                        TIMOTHY M. BURGESS
                                                        United States District Judge




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